ASE R:24-Cv-00083-TJC-PRL Document 1jA,,ckA@A 02/22/24 Page 1 of 1 PagelD 87

GREGORY C. HARRELL ¢ Clerk of Court and Comptroller * Marion County, Florida

New Search Expand All

Jury Trial

Status

Case Number | Filed Date | Case Type | | Contested |
422024CA000073CAAXMX i rasta Pa
(24CA000073AX) 01/13/2024 Circuit Civil 3-C OPEN NO YES
| Filing Date eeu Description lis 7 Active . nail “ oanitiin Contested | aoa Judgment Date aa
OTHER CIVIL-DISCRIMINATION-
Ofni2024 EMPLOYMENT OR OTHER YES NG :
Party Name | Party Type Attorney | : BarlD |
SANDERS, GARY LAMAR JUDGE
LIFE CARE CENTERS OF
AMERICA, Search This Party DEFENDANT
D/B/A LIFE CARE CENTER OF
OCAL Search This Party ALSO KNOWN AS
ADAMS, FREDDYL Search This Party PLAINTIFF IMLER, JASON WILLIAM 1004422
| Dockets
| naa : Page:41 ‘
Image | Doc # Action Date | I
i) 11 01/24/2024 SUMMONS RETURNED SERVED ON LIFE CARE CENTERS OF AMERICA INC 4
10 01/24/2024 NOTICE OF FILING PROOF OF SERVICE FILED BY PLTF 2
2) 9 01/22/2024 SUMMONS ISSUED 3
4 01/16/2024 Payment received: $410.00 Receipt Number XX 921819
2 01/16/2024 Judge: Assigned
Wy 8 01/13/2024 EFILEO SUMMONS 3
} 7 01/13/2024 PETITION/COMPLAINT 12
W2) 6 01/13/2024 CIVIL COVER SHEET 3
5 01/13/2024 Filer Selected Confidentiality Flag: NoConfidentiallnformation
3 01/13/2024 Assessment 1 assessed at sum $410.00
1 Oviw2024 Case 422024CA000073CAAXMX Filed with Clerk on 1/13/2024
| Judge Assignment History
Assigned Date | Withdraw Date | Judicial Officer
01/16/2024 . SANDERS, GARY L
ir ——$————— cs ee ————
i} Court Events
Event Date | Judge | Docket Type Location | Prosecutor
No records found.
[ Financial Summary
Financial Summary
Assessment [ Total: $410.00 [Paid to Date: $410.00 {estence ue: $0.00
Restitution [Total: $0.00 [Paid to Date: $0.00 Balance Due: $0.00
{ Financial Details aad i |
| Count i A it Due | A Pald to Date Restitution Due | Restitution Paid to Date | Last Payment Date |
| $410.00 $410.00 $0.00 $0.00 :
I ReopenHistory ,
(sae i ai le oo pitt et
a Reopen Data j Reopen Close Date Reopen Reason
No records found.
** Pursuant to Florida Statutes and Florida Rules of Court Procedure, records that have been desi d iP 4, sealed or confidential may not be available through this service. For 2dditional information on specific records please contzct the
Clerk of Court.
Privacy - Terra
http: Ji chiml?query=eiqeFdEVIFMv3llsWVuDk2vdxxl4ndOYxVJVGozHTZl&from=party dex=0 vA

